Case 1:22-cv-20456-JEM Document 31 Entered on FLSD Docket 06/27/2023 Page 1 of 2

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
Case Number: 22-20456-CIV-MARTINEZ-BECERRA
JUAN RAMON GOMIS RABASSA,
Petitioner,
v.

UNITED STATES OF AMERICA, ef al.,

Respondents.
/

 

ORDER ADOPTING REPORT AND RECOMMENDATION
THIS MATTER was referred to the Honorable Jacqueline Becerra, United States

Magistrate Judge, for a Report and Recommendation on the Government’s Motion to Dismiss
Amended Petition to Quash (the “Motion to Dismiss”), (ECF No. 13). (ECF No. 21.) On April
13, 2023, Judge Becerra held a hearing on the Motion to Dismiss. (ECF No. 27.) On June 6, 2023,
Judge Becerra filed a Report and Recommendation in which she recommended the Motion to
Dismiss be granted. (ECF No. 28.) On June 21, 2023, Petitioner timely filed his objections to the
Report and Recommendation (the “Objection”), (ECF No. 30). Respondents did not file any
objections, and the time to object has passed. (See ECF No. 28 at 19.)

This Court perused the entire file and record, reviewed applicable law, and conducted a de
novo review of the issues the Objection present and is otherwise fully advised in the premises.
After careful consideration, this Court finds that the issues raised in the Objection, (ECF No. 30),
were already addressed in Judge Becerra’s thorough and well-reasoned Report and
Recommendation, (see generally ECF No. 28), or are without merit.

Therefore, it is ADJUDGED that Judge Becerra’s Report and Recommendation, (ECF No.

 
Case 1:22-cv-20456-JEM Document 31 Entered on FLSD Docket 06/27/2023 Page 2 of 2

28), is AFFIRMED and ADOPTED. Accordingly, it is ORDERED AND ADJUDGED that:
I The Objection, (ECF No. 30), is OVERRULED.
2. The Motion to Dismiss, (ECF No. 13), is GRANTED.
3. The Amended Petition to Quash Summons, (ECF No. 12), is DISMISSED.
4, The Clerk is DIRECTED to CLOSE this case and DENY all pending motions as
MOOT.
DONE AND ORDERED in Chambers at Miami, Florida, this 0-7 day of June, 2023.

CL. et

JOSE E. MARTINEZ
UNITED S¥ATES DISTRICT JUDGE

Copies provided to:
Magistrate Judge Becerra
All Counsel of Record
